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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

DR. DINA DAHDAL                                                                 PLAINTIFF

                                    CASE NO. 4:17-cv-00478-BSM

BRITTANY GODFREY, BYRON HARPER, OFC. SILVA,
individually and in their official capacities as
police officers for the City of Little Rock, and
CITY OF LITTLE ROCK, and
UNITED PAIN CARE, LTD.                                                       DEFENDANTS

                        MOTION TO WITHDRAW AS COUNSEL

           Comes before the Court, Kathryn L. Hudson, for her Motion to Withdraw as Counsel of
Record for Dr. Dina Dahdal, respectfully states:

       1. The attorney-client relationship has broken down to such an extent between the

parties that further representation by counsel is no longer possible.

       2. There are no client funds retained.

       3.     Kathryn L. Hudson, has taken reasonable steps to avoid any foreseeable prejudice

to the rights of Dr. Dina Dahdal. Notice of this motion has been provided to Dr. Dahdal, the

Plaintiff will remain represented by R. David Lewis.

           WHEREFORE, Kathryn L. Hudson requests that her Motion to Withdraw as Counsel be

granted.

                                       Respectfully submitted,

                                       Kathryn L. Hudson, ABN 2010046

                                       LAW OFFICE OF KATHRYN L. HUDSON
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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 29, 2018, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which shall send notification of such filing all
those authorized to receive such notice and specifically:

Rick D. Hogan                                              Dr. Dina Dahdal
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                                           /s/ Kathryn L. Hudson
